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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

Tressa Sherrod, et. al.                      :

               Plaintiffs,                   :      Case No.: 3:14-cv-454
       -vs-
                                             :      District Judge Walter H. Rice
Officer Sean Williams, et. al.
                                             :
               Defendants.                   :

           DEFENDANT WAL-MART STORES EAST, L.P.’S MOTION TO CERTIFY
             A STATE LAW QUESTION TO THE SUPREME COURT OF OHIO

       Defendant, Wal-Mart Stores East, L.P, (“Wal-Mart”) respectfully asks the Court to certify

the following question to the Supreme Court of Ohio:

               Does a claim for a few minutes of conscious pain and suffering,
               immediately preceding a decedent’s death, fall within the exception
               to the damage caps on noneconomic recovery under R.C. §
               2315.18(B)(3)(a).

There is no controlling or persuasive precedent on this issue. And the submission of this question

will save time for the parties and promote judicial economy. The reasons why this this request

should be granted are more fully set forth in the attached Memorandum in Support.
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                                    Respectfully submitted,

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                                       MEMORANDUM IN SUPPORT

           There is no dispute that Mr. Crawford was only alive for a few minutes after the police shot

him. Plaintiffs assert a survivorship claim, including a conscious pain and suffering claim. But if

Mr. Crawford was “conscious”1 at all, he only suffered for a few minutes. The parties dispute

whether the damage caps in R.C. § 2315.18(B)(3)(a) apply when, as here, the decedent did not

have an extended period of conscious pain and suffering. To resolve this dispute, this Court should

certify this question to the Ohio Supreme Court for four reasons: (1) there is no controlling or

persuasive authority on whether Ohio’s damage caps on noneconomic recovery apply to a

survivorship claim lasting only a few minutes; (2) certification will not cause undue delay because

the Court recently granted Plaintiffs’ Rule 54(b) certification to appeal a separate issue to the Sixth

Circuit; (3) clarity on the damage cap issue would facilitate settlement discussions, and (4)

certification will promote judicial economy.

                                               The Legal Standard

           Federal courts are authorized to certify questions to a state supreme court. Pennington v.

State Farm Mut. Auto. Ins. Co., 553 F.3d 447, 450 (6th Cir. 2009). The Ohio Supreme Court Rules

of Practice provide the relevant standard:

                    The Supreme Court may answer a question of law certified to it by
                    a court of the United States. This rule is invoked if the certifying
                    court, in a proceeding before it, issues a certification order finding
                    there is a question of Ohio law that may be determinative of the
                    proceeding and for which there is no controlling precedent in the
                    decisions of this Supreme Court.

S.Ct. Prac. R. 9.01(A).

           The decision to use the certification procedure lies within the sound discretion of the

district court. Lehman Bros. v. Schein, 416 U.S. 386, 391 (1974). “[U]se of the certification


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    Wal-Mart does not believe there is any evidence of conscious pain and suffering.

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procedure is most appropriate when the question of state law is new or state law is unsettled.”

Transamerica Ins. Co. v. Duro Bag Mfg. Co., 50 F.3d 370, 372 (6th Cir. 1995). “Novel or unsettled

questions of state law may be appropriate for certification where certification will save time,

energy and resources, or where there are conflicting federal interpretations of an important state

law question which would otherwise evade state court review.” Metz v. Unizan Bank, 416 F. Supp.

2d 568, 574 (N.D. Ohio 2006) (citing Arizonans for Official English v. Arizona, 520 U.S. 43, 77

(1997)); Geib v. Amoco Oil Co., 29 F.3d 1050, 1060 (6th Cir. 1994).

                               Why the Issue Should Be Certified

       First, the law is unsettled as to whether the damage caps on noneconomic recovery

provided under R.C. § 2315.18 apply to a survival claim lasting a few minutes. There is no

authority – controlling or persuasive – on whether a claim for a few minutes of conscious pain and

suffering (immediately preceding death) is an exception to Ohio’s damage cap. This is the exact

scenario contemplated by S.CT. PRAC. R. 9.01(A) (Certification is appropriate when there is “no

controlling precedent.”).

       Second, this Court recently granted Rule 54(b) certification allowing Plaintiffs an

interlocutory appeal. (See Doc. #327). So a parallel certification of this damage cap issue will not

cause undue delay.

       Third, this Court held that clarity on the wrongful death issue could facilitate settlement.

(Doc. #327, at PageID: 20629). Likewise, clarity on this important damage cap issue would allow

all parties to make informed decisions regarding settlement. If Plaintiffs are allowed to proceed

with an interlocutory appeal to the Sixth Circuit, Wal-Mart should be able to clarify the damage

cap issue through certification.




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       Fourth, resolution of this issue by the Ohio Supreme Court will promote judicial economy.

If Plaintiffs succeed at trial on the survivorship claim, the answer to the certified question would

preempt a post-trial appeal on that issue to the Sixth Circuit. And it will also save the Sixth Circuit

the likely task of certifying the same question to the Ohio Supreme Court. This follows this Court’s

analysis on the Rule 54(b) certification that as many issues should be decided before trial as

possible. (Doc. #327, at PageID: 20630).

       For the reasons outlined above, Wal-Mart requests that the Court certify the question to the

Supreme Court of Ohio.

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and accurate copy of the foregoing document was served via the

Court’s electronic filing system, upon all parties of record, this ________ day of May, 2021.

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                                          /s/ Patrick Kasson
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